Case 9:23-cr-80101-AMC Document 98 Entered on FLSD Docket 08/04/2023 Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA


     UNIT-ED STATES OF AMERICA,                    CASE NO.     23-80101 -CR-CANNON


                           v.

        DONALD J. TRUMP

                           Defendant
                        WAIVER OF APPEARANCE FOR ARRAIGNMENT

                                Donald J. Tr_ump                              am charged by
     indictment with an offense or offenses underthe United States Code .


            . I have received a copyofthe Indictment and the pl~a ls NOT G!-JILTYto the
     charged offense(s).


             I am aware that I have the right under Rule 1Oof the Federal Rues of Criminal
     Procedure kl be present In court for my arraignment. I waive my right to appear in court
     at my arraignment.




    Hava
    Date
         son                                                  Clay
                                              Counsel for Defendant (Signature)

     0 Waiver Approved
     0 Waiver Denied


     Date                                    Judicial Officer         (Signature)
